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                              Keto Boost
                          Support Line 888-970-0695


              Email: help@ketocustomersupport.com

                                   Standard Packages
 1 Bottle                             $69.99
 Buy 2 Get 1 Free                     $149.91               ($49.97/bottle)


 Buy 3 Get 2 Free                     $198.70               ($39.74/bottle)

                                      Some states may add sales tax




           Unadvertised Special Promotional Packages
 Buy 1 Get 1 Free                     $69.97                ($34.99/bottle)

 If that does not work, our goal is to make any kind of sale. We do not want total cancellations so try…

 1 Bottle                             $34.99


 Objectives
 Be Friendly
 Ask questions before offering solutions
 Any sale is better than no sale, but don’t give it away unless
 they are just insisting on cancelling the entire order!
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 Typical calls received:


    1) I didn’t place that order.

       We seem to have a number of these calls. We track the IP addresses and they
       usually coordinate with the shipping address. We also do address verification to
       assure the billing address matches the card used.

       One note is that customers who purchase our Buy 1 Get 1 Free package for
       $69.99 can only have received the link for that package from a link sent to their
       cell phone provided which is unique to them. This is not on the site and can only
       be accessed through that link, so it proves it was them.

       We will be happy to work with them on a refund/cancellation per our refund
       terms.

    2) I wanted the “Free Trial” Offer
       Our company does not offer free trial bottles. We find that companies that do
       this type of sale usually engage in automatic rebilling and our experience is that
       customers do not like this.
    3) Is there any recurring or subscription plan? Will you charge my card again?

       We do not have any automatic rebilling. You will not be charged again unless you
       come back ad place a reorder for the product, which many of our customers do.

    4) I was overcharged:
       5-bottle package
              I thought it was $39.74 x 3 bottles which would be $119.22
              Pricing is based on the standard pricing of $69.99/bottle. For example, the
              Buy 3 get 2 Free without the package discount would be $69.99 x 5
              =$349.95. With the package discount it is $198.70 (+ tax if applicable)
              which works out to $39.74 per bottle ($39.74 x 5 bottles received =
              $198.70)
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           If this is the case and they want to cancel, we can start by offering them a
           $50 off coupon bring it to $148.70 (that’s only $29.74 per bottle). We
           always ask “Would that be acceptable to you? If they say yes, adjust the
           order. If they say that is not enough, let them know this one time, you
           will honor the $39.74 price x 3 bottles for a total of $119.22 price they
           expected (that’s only $23.84 per bottle based on the 5 received and
           equals a $79.48 partial refund).
           In either case we will credit the difference back to their account ($50 or
           $79.48) and they should see that credited back to their card in 3-5
           business days.
           If that does not work, go to offering Buy 1 Get 1 Free and then single bottle.
           Offer them a Buy 1 Get 1 free Package which is 2 bottles for $69.97
           (equates to $34.99 per bottle based on 2 bottles sent).
           If they say no, then I would offer a single bottle for $34.99 so they can
           “try” the product. Remind them there are no automatic rebillings or
           subscriptions. It is a one-time sale until they contact us to reorder.


           Or
           I thought it was $39.74 total
           Not sure how it would make sense that we sell 1 bottle for $69.99 and 5
           bottles for $39.74?
           Pricing is based on the standard pricing of $69.99/bottle. For example, the
           Buy 3 get 2 Free without the package discount would be $69.99 x 5
           =$349.95. With the package discount it is $198.70 (+ tax if applicable)
           which works out to $39.74 per bottle ($39.74 x 5 bottles received =
           $198.70)
           In this case, I would offer them a Buy 1 Get 1 free Package which is 2
           bottles for $69.97 (equates to $34.99 per bottle based on 2 bottles sent).
           If they say no, then I would offer a single bottle for $34.99 so they can
           “try” the product. Remind them there are no automatic rebillings or
           subscriptions. It is a one-time sale until they contact us to reorder.


     3-bottle package
           I thought it was $34.97  x 2 bottles which would be $99.94
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           Pricing is based on the standard pricing of $69.99/bottle. With the package
           discount it is $149.91 (+ tax if applicable) which works out to $49.97 per
           bottle ($49.97 x 3 bottles received = $149.91).


           If this is the case and they want to cancel, we can start by offering them a
           $25 off coupon bring it to $124.91. We always ask “Would that be
           acceptable to you? If they say yes, adjust the order.
           If they say that is not enough, let them know this one time, you will honor
           the $49.97 price x 2 bottles for a total of $99.94 price they expected
           (equals a $49.97 partial refund).
                 In either case we will credit the difference back to their account
           ($25 or $49.97) and they should see that credited back to their card in 3-5
           business days.
           If that does not work, go to offering Buy 1 Get 1 Free and then single bottle.
           Offer them a Buy 1 Get 1 free Package which is 2 bottles for $69.97
           (equates to $34.99 per bottle based on 2 bottles sent).
           If they say no, then I would offer a single bottle for $34.99 so they can
           “try” the product. Remind them there are no automatic rebillings or
           subscriptions. It is a one-time sale until they contact us to reorder.




  5) Questions on tracking numbers

     These should be updating in the CRM.

  6) Questions on usage
     The product is designed to help push the body into ketosis where it is burning fat
     instead of carbs for energy. This can greatly assist in losing stubborn bodyfat.
     The product works best in conjunction with a low carb, low sugar diet.
     Some people show immediate results but most of our repeat customers say they
     really started to see the results about 30 days into the program.
     Recommended usage is 2 pills before each meal.
     Is it safe to take if I’m on XXX medication or I have XXX medical condition?
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      We cannot give medical advice. The ingredients used are certified as GRAS which
      means they are Generally Regarded As Safe. The product is made to exacting
      standards in a certified


      If they ask what is in the product, refer to the label.
      Refer to the product label.




   x Our main goal to is retain everyone as a customer at some
     price level.
        a. A reduced price with a partial refund is far better than a
           full return and/or cancellation.
   x With those that are insisting on cancelling, we ultimately want
     to refund the order “per the refund terms” on the site.


RETURN POLICY

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  1) We need to issue them an RMA (Return Merchandise
     Authorization) number. No returns are accepted without a
     RMA.
     Our CRm will create the RMA.
     They need to mark that on outside of box and return to:
           Ultra Fast Keto Boost Returns
           9205 W. Russell Road Suite 240
           Las Vegas, NV 89148

  2)Bottles returned must be unopened and in resaleable
    condition. Returns subject to terms on our website.

  3)Credits will go back onto the original payment method.

  4)Please allow 3-5 days for refund to appear once
    merchandise is received by our shipping department.




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      883326c03e6935cc75bf230e523e4c0e</a><OriginalName
      v="image_2020_08_20T19_26_41_085Z.png"></OriginalName><FileSize
      v="2003"></FileSize><meta type="photo"
      originalName="image_2020_08_20T19_26_41_085Z.png"></meta></URIObjec
      t>

  x   live:keenansmorgan8/20/2020, 3:26:40 PM

      Thank you for the information. Please confirm the SKUs in the attached
      screenshot should be updated to pull the Instant Keto product.

  x   xcellent.choice8/20/2020, 3:26:34 PM

      I’ll top off funds in about 20 min

  x   xcellent.choice8/20/2020, 3:25:12 PM

      That was related to when we had a processor with access to check shipments.
      We can just change it to instant keto in your system now.

  x   xcellent.choice8/20/2020, 3:24:38 PM

      Instant keto is listed as keto boost or better boost keto in your system.

  x   live:thebigguy1978_18/20/2020, 3:24:15 PM

      Dave may be able to explain that better.

  x   live:keenansmorgan8/20/2020, 3:23:21 PM

      If you could help me understand better - backorders are for the product listed as
      KetoBoost. We received in the Instant Keto product which does not have any
      SKUs attached to it currently

  x   live:keenansmorgan8/20/2020, 3:22:24 PM

      <URIObject uri="https://api.asm.skype.com/v1/objects/0-eus-d10-
      5285cfb6c05b222ec54d1b4d0a59b442"
      url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d10-
      5285cfb6c05b222ec54d1b4d0a59b442/views/imgt1_anim" type="Picture.1"
      doc_id="0-eus-d10-5285cfb6c05b222ec54d1b4d0a59b442" width="613"
      height="668">To view this shared photo, go to: <a
      href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d10-
      5285cfb6c05b222ec54d1b4d0a59b442">https://login.skype.com/login/sso?go=x
      mmfallback?pic=0-eus-d10-



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       5285cfb6c05b222ec54d1b4d0a59b442</a><OriginalName
       v="image_2020_08_20T19_22_22_624Z.png"></OriginalName><FileSize
       v="65080"></FileSize><meta type="photo"
       originalName="image_2020_08_20T19_22_22_624Z.png"></meta></URIObjec
       t>

   x   live:thebigguy1978_18/20/2020, 3:21:06 PM

       That is for the back order.

   x   live:thebigguy1978_18/20/2020, 3:20:48 PM

       In GFS Keto Boost is Instant Keto.

   x   live:keenansmorgan8/20/2020, 3:19:32 PM

       Ok, so this wasn't to help with the backorders then, right? The backorders are
       for KetoBoost

   x   live:thebigguy1978_18/20/2020, 3:15:26 PM

       Sorry for the delayed response, had my head buried in the comp all morning.

   x   live:thebigguy1978_18/20/2020, 3:14:59 PM

       I think it was supposed to be Instant Keto. Like 20K of them.

   x   live:keenansmorgan8/20/2020, 1:41:15 PM

       Should this have been KetoBoost?

   x   live:keenansmorgan8/20/2020, 1:40:21 PM

       Hi <at id="8:live:thebigguy1978_1">Aaron</at>! We received a delivery of
       Instant Keto today. <e_m a="live:keenansmorgan" ts_ms="1597945197092"
       ts="1597945197" t="61"></e_m>

   x   live:keenansmorgan8/20/2020, 1:39:57 PM

       Hi <at id="8:live:thebigguy1978_1">Aaron</at>! We received a delivery of
       Instant Keto today. <e_m a="live:keenansmorgan" ts_ms="1597945197092"
       ts="1597945197" t="61"></e_m>

   x   live:manutdholmes8/19/2020, 4:33:33 PM




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  x   live:nate_363811/8/2019, 2:12:52 PM

      <URIObject uri="https://api.asm.skype.com/v1/objects/0-eus-d7-
      f0d3395441ff7b55ac80860879f4ac29"
      url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d7-
      f0d3395441ff7b55ac80860879f4ac29/views/original" type="File.1" doc_id="0-
      eus-d7-f0d3395441ff7b55ac80860879f4ac29">To view this file, go to: <a
      href="https://login.skype.com/login/sso?go=webclient.xmm&docid=0-eus-d7-
      f0d3395441ff7b55ac80860879f4ac29">https://login.skype.com/login/sso?go=we
      bclient.xmm&docid=0-eus-d7-
      f0d3395441ff7b55ac80860879f4ac29</a><OriginalName v="Wiring Instructions
      TFL 2018.pdf"></OriginalName><FileSize
      v="273150"></FileSize></URIObject>

  x   live:thebigguy1978_111/5/2019, 3:40:17 PM

      opps my mistake, disregard

  x   live:thebigguy1978_111/5/2019, 3:40:01 PM

      bad adds

  x   live:manutdholmes11/4/2019, 1:47:50 PM

      David - guessing you would need separate billing too? we could set up a new
      account

  x   xcellent.choice11/4/2019, 12:39:03 PM

      guys is there a way to move the nistaketo sales into a different account. We're
      not processing them with same bank and don't want the current bank to see
      those sales?

  x   live:jelanilab11/1/2019, 4:06:02 PM

      Hello all, enclosed is the receiving report

  x   live:jelanilab11/1/2019, 4:05:36 PM

      <URIObject uri="https://api.asm.skype.com/v1/objects/0-eus-d8-
      a0fa8da1c546ebc1666f9d42ad40f168"
      url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d8-
      a0fa8da1c546ebc1666f9d42ad40f168/views/original" type="File.1" doc_id="0-
      eus-d8-a0fa8da1c546ebc1666f9d42ad40f168">To view this file, go to: <a
      href="https://login.skype.com/login/sso?go=webclient.xmm&docid=0-eus-d8-



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